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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

Sonos, Inc.,                         §
                                     §
                  Plaintiff,         §          No. 6:20-cv-881-ADA
v.                                   §
                                     §
Google LLC,                          §
                                     §
                  Defendant.         §




       PLAINTIFF SONOS, INC.’S OPENING CLAIM CONSTRUCTION BRIEF
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                       PARTIES’ PROPOSED CONSRUCTIONS

           Claim Term                 Sonos Construction              Google Construction
                                  “any type of media that           Plain and ordinary
“multimedia” [’206 and ’615
                                  comprises audio (including        meaning; no construction
Patents]
                                  audio alone)”                     necessary at this time
                                  “ a physical component of a
                                                                    Plain and ordinary
“network interface” [’206, ’615,  device that provides an
                                                                    meaning; no construction
’885 Patents]                     interconnection with a data
                                                                    necessary at this time
                                  network ”
“playback device” [’206, ’615,    “a data network device            Plain and ordinary
’033 Patents] / “zone player”     configured to process and         meaning; no construction
[’966, ’885 Patents]              output audio”                     necessary at this time
“zone configuration characterizes “configuration data that          No separate construction
one or more zone scenes” [’206    provides an indication of         proposed. See “zone” and
Patent]                           one or more zone scenes”          “zone scene” terms.
                                                                    “an area or areas with one
“zone” [’206 Patent]                                                or more playback
                                                                    devices”
                                                                    “a group of two or more
                                        No separate construction
                                                                    zones that are grouped
                                        necessary.
                                                                    according to a common
“zone scene” [’206 Patent]                                          theme by configuring the
                                                                    zones in a particular
                                                                    scene (e.g., morning,
                                                                    afternoon or garden)”
“zone scene identifying a group
configuration associated with two
or more of the plurality of
independent playback devices”
[’206 Patent]
                                        “a previously-saved
                                        grouping of [independent
“[first / second] zone scene
                                        playback devices / zone    No separate construction
comprising a [first / second]
                                        players] that are to be    proposed. See “zone” and
predefined grouping of zone
                                        configured for synchronous “zone scene” terms.
players including at least the first
                                        playback of media when the
zone player and a [second / third]
                                        zone scene is invoked”
zone player that are to be
configured for synchronous
playback of media when the [first
/ second] zone scene is invoked”
[’966, ’885 Patents]
“group configuration” [’206             No separate construction
                                                                    Indefinite
Patent]                                 necessary.
“invoked” / “invoke” /                  Plain and ordinary          “applying a parameter or
“invocation” [’206, ’966, ’885          meaning; no construction    setting”


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Patents]                              necessary at this time

“causing the selectable indication
                                      Plain and ordinary
of the at least one of the one or
                                      meaning; no construction     Indefinite
more zone scenes to be
                                      necessary at this time
displayed” [’206 Patent]
                                   “data network that
                                                                   Plain and ordinary
                                   interconnects devices
“local area network” [’615 Patent]                                 meaning; no construction
                                   within a limited area, such
                                                                   necessary at this time
                                   as a home or office”
                                   Plain and ordinary
“cloud” [’615 and ’033 Patents]    meaning; no construction        “over a network”
                                   necessary at this time
“a media particular playback
                                   “a media playback system”       Indefinite
system” [’615 Patent]
                                   “a medium that
                                   interconnects devices,
                                                                   Plain and ordinary
“data network” [’966, ’033, ’885   enabling them to send
                                                                   meaning; no construction
Patents]                           digital data packets to and
                                                                   necessary at this time
                                   receive digital data packets
                                   from each other”
                                   Plain and ordinary              “remote playback queue
“remote playback queue” [’033
                                   meaning; no construction        provided by a third
Patent]
                                   necessary at this time          party application”
“an instruction for the at least
one given playback device to take
over responsibility for playback                                   “an instruction for the at
                                   Plain and ordinary
of the remote playback queue                                       least one give playback
                                   meaning; no construction
from the computing device,                                         device…”; Instruction
                                   necessary at this time
wherein the instruction                                            means one instruction.
configures the at least one given
playback device to” [’033 Patent]
“wherein the instruction           Plain and ordinary
comprises an instruction” [’033    meaning; no construction        Indefinite
Patent]                            necessary at this time




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       Consistent with the principles set forth in Phillips v. AWH Corp., Sonos proposes

constructions that are firmly based on the intrinsic evidence. 415 F.3d 1303 (Fed. Cir. 2005). In

contrast, Google proposes whatever definitions best serve its defenses, repeatedly violating the

principles in Phillips. In many instances, Google imports limitations into the claims that are

unsupported by the intrinsic evidence—often times for terms that are already clear and need no

construction. In other instances, Google ignores the intrinsic evidence altogether and defines terms

in a vacuum. Sonos respectfully requests that the Court reject Google’s litigation-inspired

constructions and adopt Sonos’s constructions for those terms that actually need construction.

I.     Factual Background

       Sonos began in 2002 as an American start-up consumer electronics company with a goal

of reinventing home audio for the digital age. To achieve this goal, Sonos pioneered what is known

as wireless multi-room audio, bringing its first commercial products to market in 2005. Sonos’s

wireless multi-room audio system was based on new audio players called “zone players” (or

“playback devices”), which are “smart” devices that connect to a local “data network” and can be

placed in any room throughout a user’s home. Once connected to the local data network, each

zone player has the ability to independently access any audio source that is available on either the

local data network or the Internet. As a result, each zone player can play different audio

independently from other zone players, or multiple zone players can be grouped together to play

the same audio in synchrony. Each zone player can be controlled from anywhere in the user’s

home via a control device (or “controller”) that is also connected to the local data network.

       The following figure illustrates a simplified diagram of an exemplary Sonos audio system

comprising zone players 102-106 and controllers 140-142 coupled to one another by a local data




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network 108, along with a connection to

the Internet. See Patent Nos. 9,344,206,

10,469,966, and 10,848,885 at FIG. 1.

       The Asserted Patents1 here are

directed to various novel aspects of

Sonos’s networked audio system.         For

example, Sonos’s ’206, ’966, and ’885 Patents (the “Zone Scene Patents”) claim new technology

that Sonos invented for grouping zone players to play the same audio in synchrony. With this new

technology, instead of having to identify every zone player that is to be included in the group “on

the fly” at the time that the user wishes to group the zone players together for synchronous

playback, a user is given the ability to create and save a predefined grouping of zone players. This

grouping of zone players is stored within the system and can then later be activated at the time that

the user wishes to actually group the zone players together for synchronous playback – all of which

allows zone players to be grouped in an easier and more intuitive way. This new type of

previously-saved grouping of zone players is, as claimed, referred to as a “zone scene.”

       Sonos’s ’615 and ’033 Patents (the “Direct Control Patents”) cover key aspects of Sonos’s

inventive cloud-based approach for seamlessly transferring playback of an Internet stream of

media content from, for example, a user’s personal computing device, such as a smart phone, to a

user’s home playback system despite the user’s device not necessarily being set up as a dedicated

controller for the playback system.

II.    “Multimedia” [Proposed by Sonos]

       The term “multimedia” appears in claims 1-11 of the ’206 Patent and the asserted claims


1
  U.S. Patent Nos. 9,344,206 (“’206 Patent”), 9,967,615 (“’615 Patent”), 10,469,966 (“’966
Patent”), and 10,779,033 (“’033 Patent”) and 10,848,885 (“’885 Patent”). Attached as Exs. 1-5.


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of the ’615 Patent. In connection with another Sonos patent that is intrinsic evidence to the ’615

Patent2, this term has already been construed on multiple occasions to mean “any type of media

that comprises audio (including audio alone)” – which is Sonos’s proposed construction here. For

instance, in an action that Sonos filed against D&M Holdings Inc. (“D&M”) in the District Court

of Delaware, the Delaware court agreed with Sonos that the term “multimedia” in the context of

Sonos’s patents was “intended to include media comprising only audio.” See Ex. 6 at 14-15.

Likewise, in a recent action that Sonos filed against Google in the International Trade Commission

(“ITC”), Google itself agreed that this was the proper construction of “multimedia,” and the ITC

adopted this construction. Ex. 7 at 15.

       Despite previously agreeing to this construction in the parties’ ITC action, Google is now

taking the contrary position that term “multimedia” should not be construed and that a plain and

ordinary meaning should govern.

       Regardless, the intrinsic evidence here definitively establishes that the Asserted Patents use

the term “multimedia” to refer to any type of media that comprises audio – including audio alone,

which is the lead example of “multimedia” described. See, e.g., ’206 Patent at 4:32-36 (“There

are a number of multimedia players of which three examples 102, 104 and 106 are shown as audio

devices.”), 2:28-37, 3:16-21, 4:58-5:3, 5:60-6:5, FIG. 1; ’615 Patent at 1:66-2:14 (“[N]etworks can

be used to connect one or more multimedia playback devices for a home or other location playback

network (e.g., a home music system). . . . Music and/or other multimedia content can be shared .

. . .”), 3:28-37, 6:8-7:19, 11:6-14, 12:8-63, 15:51-57, FIGs 2A-C.

III.   “Network Interface” [Proposed by Sonos]

       Due to the networked nature of its system, many of Sonos’s patents specify that the claimed


2
 U.S. Patent No. 8,588,949 addressed by the Delaware court is cited on the face of the ’615 Patent,
and thus, is part of the ’615 Patent’s intrinsic prosecution history.


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devices include a “network interface,” including the ’206, ’615, and ’885 Patents asserted here.

       In connection with other Sonos patents that are intrinsic evidence to the ’206, ’615, and

’885 Patents3, this term has already been construed on multiple occasions to mean “a physical

component of a device that provides an interconnection with a data network” – which is Sonos’s

proposed construction here. For instance, in Sonos’s action against D&M, the Delaware court

agreed with Sonos that the term “network interface” in the context of Sonos’s patents should be

construed in this way. See Ex. 6 at 12-13. Likewise, in Sonos’s ITC action against Google ,

Google itself agreed that this was the proper construction of “network interface” in the context of

Sonos’s patents, and the ITC adopted this construction. Ex. 7 at 15.

       Despite previously agreeing to this construction of “network interface” in the parties’ ITC

action, Google is now taking the contrary position that “network interface” should not be construed

and that the plain and ordinary meaning should govern.

       Sonos’s construction is entirely consistent with the intrinsic evidence, which makes clear

that a “network interface” is “a physical component of a device that provides an interconnection

with a data network.” For instance, the ’206, ’615, and ’885 Patents disclose that the “network

interface” facilitates “data flow” between a device (e.g., a “zone player”) and a “data network,”

which involves “assembling of an audio source or file into smaller packets that are to be transmitted

over the data network,” “reassembl[ing]” of “received packets into the original source or file,” and

“handl[ing] the address part of each packet.” ’206 Patent at 5:14-23;4 ’615 Patent at 7:37-44.

IV.    “Playback Device” / “Zone Player” [Proposed by Sonos]

       As explained above, Sonos’s networked audio system is built around intelligent “zone


3
  One or more of the patents addressed by the Delaware court is cited on the face of each of the
’206, ’615, and ’885 Patents, and thus, part of their intrinsic prosecution history.
4
  The Zone Scene Patents have nearly identical specifications. Teachings cited herein from the
’206 specification can also be found in the ’966 and ’885 specifications.


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players,” which are also referred to as “playback devices” in Sonos’s patents. These terms appear

in all the Asserted Patents here.

       In connection with other Sonos patents that are intrinsic evidence to the Asserted Patents5,

these terms have also already been construed on multiple occasions to mean “a data network device

configured to process and output audio” – which is Sonos’s proposed construction here. For

instance, in Sonos’s action against D&M, the Delaware court agreed with Sonos that the terms

“zone player” and “playback device” in the context of Sonos’s patents should be construed in this

way. See Ex. 6 at 8-12. Likewise, in Sonos’s ITC action against Google, Google itself agreed that

this was the proper construction of the terms “zone player” and “playback device” in the context

of Sonos’s patents, and the ITC adopted this construction. Ex. 7 at 15.

       Despite previously agreeing to this construction in the ITC action, Google is now taking

the contrary position that terms “zone player” and “playback device" should not be construed and

that the plain and ordinary meaning should govern.

       Regardless, the intrinsic evidence of Sonos’s patents makes clear that the terms “zone

player” and “playback device”6 refer to a data network device that is configured to process and

output audio. As an initial matter, the “zone players” and “playback devices” of the Asserted

Patents are always described in the context of a networked audio system, which the Asserted

Patents distinguish from “conventional multi-zone audio system[s]” where passive speakers were

“hard-wired” back to a “centralized” device via dedicated speaker wiring. See, e.g., ’206 Patent

at 1:40-61; ’615 Patent at 6:50-60. Moreover, the “zone players” and “playback devices” of the




5
  One or more of the patents addressed by the Delaware court is cited on the face of each of the
Asserted Patents, and thus, part of the Asserted Patents’ intrinsic prosecution history.
6
  See, e.g., ’615 Patent at 3:28-29, 4:32-33, 8:49-50.


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Asserted Patents are repeatedly and consistently7 described as audio players that connect to a “data

network” and as having audio processing intelligence.

       For instance, the Asserted Patents uniformly describe the “zone players” as devices that

include a “network interface” and connect to a “data network.” See, e.g., ’206 Patent at 4:44-45

(“All of the zone players 102, 104 and 106 are coupled directly or indirectly to a data network

108.”8), 4:49-5:2, 5:23-64, 7:60-65, FIG. 1, FIG. 2A; ’615 Patent9 at 5:21-23 (“The zone players

102 to 124 are coupled directly or indirectly to a data network, such as the data network 128 shown

in FIG. 1.”), 4:13-18, 5:29-46, 7:5-8:23, 10:59-11:11, 11:58-12:3, 16:1-4.

       Similarly, the Asserted Patents uniformly describe the “zone player” as having internal

components for “processing” and then outputting audio in the form of either (i) an audio signal to

connected passive speakers or (ii) sound waves from integrated speakers. See, e.g., ’206 Patent at

5:60-6:5 (disclosing that “zone player 200” includes “audio processing circuit 210” that processes

“an audio source [] retrieved via the network interface 202” to produce “analog audio signals” that

are then “provided to the audio amplifier 214 for playback on speakers.”), 5:39-50, 7:40-45; ’615

Patent at 8:4-48 (disclosing that “zone player 400” includes “processor 408 . . . configured to

process input data” and “audio processing component 412” that processes “audio that is retrieved

via the network interface 402” to produce “analog audio signals” that are then “provided to the

audio amplifier 416 for play back through speakers 418.”), 3:38-4:25, FIGs. 2A-2C, 4.10



7
   See, e.g., Groove Digital, Inc. v. United Bank, 825 F. App’x 852, 856 (Fed. Cir. 2020) (“[A]
patent’s repeated and consistent description of a claim term may inform its construction.”); ICU
Med., Inc. v. Alaris Med. Sys., Inc., 558 F.3d 1368, 1374-75 (Fed. Cir. 2009) (construing a term to
include certain features because the specification “repeatedly and uniformly” described the term
to include such features).
8
  All emphasis herein has been added unless otherwise noted.
9
  The Direct Control Patents share a common specification. Thus, disclosures cited herein from
the ’615 specification are also found in the ’033 specification.
10
    Ex. 6 at 15-16; Ex. 8 at 25-27.


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V.     “Zone” [Proposed by Google]

       For the Zone Scene Patents, Google seeks a construction of the word “zone” to mean “an

area or areas with one or more playback devices.” As an initial matter, this construction introduces

ambiguity at least with respect to the phrase “an area or areas” because it is unclear how an “area”

is any more understandable or clear than the term “zone” itself. The Court should decline to adopt

Google’s construction for at least this reason as simply substituting words for claim terms is not

an appropriate claim construction exercise. See, e.g., C.R. Bard, Inc. v. U.S. Surgical Corp., 388

F.3d 858, 863 (Fed. Cir. 2004) (agreeing that merely rephrasing or paraphrasing the plain language

of a claim by substituting synonyms does not represent genuine claim construction); Constructive

Designs, LLC v. Pepsi-Cola Co., Case No. 12-cv-2765, 2013 WL 12139423, at *21 (C.D. Cal.

Mar. 13, 2013) (“Claim construction does not require re-stating every word in a claim.”).

       Sonos submits that no construction is necessary for this isolated word. “Zone” does not

appear anywhere by itself in the claims. Rather, “zone” appears throughout the claims of the Zone

Scene Patents in phrases like “zone configuration,” “zone scene,” and “zone player.” As each of

these phrases is being construed in this case, there is no reason to separately construe “zone” in

isolation. Doing so will only cause confusion, as a lay juror will not understand whether (or how)

they should plug in the naked definition of “zone” to these other terms.11

       Google’s approach creates an even deeper morass because Google asks for a construction

of “zone” only with respect to the Zone Scene Patents, and not with respect to the Direct Control


11
   For instance, Google proposes a construction of “zone scene” that uses the word “zone” in the
construction. Substituting Google’s construction of “zone” into its construction of “zone scene”
results in a syntax nightmare as “zone scene” would then be construed as “a group of two or
more area or areas with one or more playback devices that are grouped according to a common
theme by configuring the area or areas with one or more playback devices in a particular scene
(e.g., morning, afternoon, or garden).” This results in still further confusion because it is not
clear what is intended to be “grouped according to a common theme” – the “area or areas” or the
“one or more playback devices.”


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Patents. For instance, one of the Direct Control Patents (the ’615 Patent) recites “zone group,”

which is not being construed. A lay juror will not understand whether (or how) they should apply

the construction of the word “zone” from the Zone Scene Patents to the word “zone” in the Direct

Control Patents. In view of this potential confusion, and the fact that “zone” is not used as an

isolated term, no construction of “zone” in the abstract is necessary or appropriate.

VI.    “Zone Configuration Characterizes One or More Zone Scenes” [Proposed by Google]

       As mentioned above, the Zone Scene Patents describe new technology that Sonos invented

for grouping zone players that enables a user to first create and save a predefined grouping of zone

players, which in the context of the asserted claims is referred to as a “zone scene,” and then later

activate (or “invoke”) that “zone scene” at the time that the user wishes to actually cause the zone

players in the “zone scene” to become configured for synchronous media playback. E.g., ‘206 Pat.

at 2:30-34.

       The Zone Scene Patents disclose that a controller of a multi-zone media system functions

to present an interface through which a user may initially create and save a “zone scene” (or just

“scene” for short), which causes data that characterizes the saved “zone scene” to be stored at one

or more zone players as part of the “zone configuration” data for the system. Id. at 6:8-9, 9:42-54,

10:10-20; FIG. 5A-B. Thereafter, a controller can receive the portion of the “zone configuration”

data that characterizes the saved “zone scene” from the one or more of the zone players in the

system, which enables the saved “zone scene” to be “displayed on the controller” such that it can

be activated by a user. Id. at 5:51-57, 10:12-13; 10:21-39.

       In line with this disclosure, claim 1 of the ‘206 Patent recites “a controller” configured to:

              receive, via a network interface, a zone configuration from a first
              independent playback device of a plurality of independent playback
              devices, wherein the zone configuration is configured via the controller and
              maintained at the first independent playback device, and wherein the zone
              configuration characterizes one or more zone scenes, each zone scene


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           identifying a group configuration associated with two or more of the
           plurality of independent playback devices;

’206 Pat. at Cl. 1. Sonos proposes to construe the phrase “zone configuration characterizes one

or more zone scenes” within this limitation to mean “configuration data that provides an

indication of one or more zone scenes.”

       This construction is directly in line with the intrinsic evidence. For instance, the claims

recite that a “zone configuration” (i) is received by the controller via a network interface, (ii) is

configured via the controller and maintained at the first independent playback device, and

(iii) characterizes one or more zone scenes. This language establishes that the claimed “zone

configuration” refers to configuration data, because it is “maintained” at the first independent

playback device and received by the controller via its “network interface,” and that it provides an

indication of (i.e., “characterizes”) one or more zone scenes.12

       Turning to the specification, the ’206 Patent explains that memory 206 of zone player 200

is “used to save one or more saved zone configuration files that may be retrieved for modification

at any time,” which demonstrates that the term “zone configuration” refers to configuration data

that is stored at a zone player. Id. at 5:51-53. The ’206 Patent also explains that a “scene may be

saved in any one of the members in the scene” and that “a set of data pertaining to the scene

includes a plurality of parameters,” which further shows that the claimed “zone configuration

characteriz[ing] one or more zone scenes” refers to configuration data that provides an indication

of one or more zone scenes. Id. at 10:9-15.

       The prosecution history of U.S. Pat App. No. 14/563,515, which is a related application



12
   See Eisai Co. v. Glenmark Pharms., Ltd., Case No. 13-cv-1279, 2015 WL 1228958, at *8 (D.
Del. Mar. 17, 2015) (construing “characterized by” as “identifiable by reference to,” explaining
that “the claim limitation is satisfied as long as the crystal form can be “characterized by”—that
is, identified by—reference to the [requirements of the claims]”).


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that descends from the ’206 Patent’s grandparent application13, further supports Sonos’s proposed

construction. In that related application, Sonos distinguished the cited “Isely” reference on the

basis that “none of Isely’s ‘networked audio devices’ perform the function of ‘storing a zone

configuration . . . the zone configuration characterizing one or more zone scenes’” because

“rather than storing any information ‘identifying a group configuration,’” the Isely devices store

something else – which again confirms that the claimed “zone configuration” is configuration data

that provides an indication of one or more zone scenes. Ex. 9 at 9-10.

       Despite this clear guidance regarding the meaning of the claimed “zone configuration,”

Google contends that the term is indefinite. To date, Google’s only explanation is as follows:

           [T]he term “zone configuration” is not distinguishable from “zone scene”
           as described in the specification or under Sonos’s theories. As another
           example, a person of ordinary skill is unable to discern with reasonable
           certainty what it means for a “zone configuration” to “characterize” a “zone
           scene” and what information is required to be a characterization.

Ex. 10.14 Google is wrong on both counts.

       First, a POSITA would readily understand how the term “zone configuration” is

distinguishable from the term “zone scene” in the context of ’206 Patent. Indeed, as explained

above, the “zone configuration” refers to the configuration data that provides an indication of the

“zone scene,” which is stored by a zone player and received by a controller, whereas “zone scene,”

as claimed, refers to the “previously-saved grouping of . . . playback devices” that is indicated by


13
   The grandparent application being U.S. Pat. App. No. 11/583,790 (now U.S. Pat. No.
8,483,853), which appears on the face of the ’206 Patent.
14
   Google did not include any explanation of its indefiniteness theories in its initial invalidity
contentions that were served on March 5, 2021. Rather, Google waited until the April 16, 2021
deadline for the parties to meet and confer on their proposed constructions to disclose its
indefiniteness theories to Sonos, and as demonstrated above, the disclosure that Google provided
on that date is still woefully deficient. Given this failure by Google to timely disclose its
indefiniteness positions, Google has forfeited its right to argue indefiniteness for any claim
terms. In any event, Sonos reserves the right to respond further, including with rebuttal expert
testimony, to the extent that Google later expands on its indefiniteness theories.


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this configuration data.     Or in other words, the “zone configuration” comprises a data

representation of the “zone scene.” A POSITA would have no trouble recognizing this distinction.

        Second, a POSITA would have no trouble understanding what it means for a “zone

configuration” to “characterize” a “zone scene” in the context of the ’206 Patent. As explained

above, the “zone configuration” plainly refers to configuration data, and the term “characterize” is

a well-understood term to a POSITA that is synonymous with terms such as describe, identify,

indicate, and represent. Taking these things together, a POSITA would readily understand that a

“zone configuration” “characterizes” a “zone scene” through a set of data that provides information

about the “zone scene.” See also ’206 Patent at 10:13-19 (explaining that a “zone scene” may be

characterized by “a set of data pertaining to the scene [that] includes a plurality of parameters”).

VII.    “Zone Scene … ” [Proposed by Both Parties]

        As explained above, the Zone Scene Patents disclose new technology that, as claimed,

gives a user the ability to create and save a predefined grouping of zone players, referred to as a

“zone scene,” which is stored within the system and can later be activated by a user to actually

group the zone players together for synchronous playback. E.g., ’206 Pat. at 2:30-34, 6:8-9, 9:42-

54, 10:10-20, FIG. 5A-B. This new “zone scene” technology, as claimed, allows zone players to

be grouped in an easier and more intuitive way than an approach that requires a user to identify

the zone players that should be included in the group each time “on the fly.” Id. at 8:7-60.

        To capture this new technology, the asserted claims of the Zone Scene Patents recite

various functionality related to creating, storing, retrieving, displaying, and/or activating a “zone

scene” comprising a predefined grouping of zone players. The claim language that each of the

Zone Scene Patents uses to describe a “zone scene” is as follows:

          Patent                             “Zone Scene” Language
        ’206 Patent    “each zone scene identifying a group configuration associated with two



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                        or more of the plurality of independent playback devices”
         ’966 Patent    “a first [second] zone scene comprising a first [second] predefined
                        grouping of zone players including at least the first zone player and a
                        second [third] zone player that are to be configured for synchronous
                        playback of media when the first [second] zone scene is invoked”
         ’885 Patent    “a first [second] zone scene comprising a first [second] predefined
                        grouping of zone players including at least the first zone player and a
                        second [third] zone player that are to be configured for synchronous
                        playback of media when the first [second] zone scene is invoked”

’206 Pat. at Cl. 1; ‘966 Pat. at Cl. 1; ‘885 Pat. at Cl. 1.

        While the ’206 Patent uses different language than the ’966 and ’885 Patents, when viewed

in the context of the Zone Scene Patents, there is no doubt that the claimed “zone scene” in all

three patents refers to the same thing: a previously-saved grouping of zone players that are to be

configured for synchronous playback of media when the zone scene is invoked. This is confirmed

by the claim language itself and the shared disclosure of the Zone Scene Patents.

        Starting with the claim language, each Zone Scene Patent makes clear that the claimed

“zone scene” is (1) a predefined grouping of zone players that (2) is previously saved at the request

of a user and (3) can later be invoked at the request of a user in order to cause the zone players in

the predefined grouping to become configured for synchronous playback of media. For instance,

the ’206 Patent’s claim 1 recites that the “zone scene” (1) “identif[ies] a group configuration

associated with two or more of the plurality of independent playback devices” (i.e., a predefined

grouping of zone players) that (2) is characterized by configuration data that is “configured via the

controller” (i.e., is previously saved by a user) and (3) can be “invoked” (or “activated”) at the

request of a user. Likewise, claim 1 of the ’966 and ’885 Patents recite that the claimed “zone

scene” (1) comprises a “predefined grouping of zone players” that (2) is created prior to being

invoked and (3) can later be “invoked” in order to cause the zone players in the predefined

grouping to become configured for synchronous playback of media.




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       The shared disclosure of the Zone Scene Patents likewise confirms this construction of

“zone scene.” For instance, as mentioned, the Zone Scene Patents describe a multi-room audio

system in which zone players can be “grouped” together for synchronous playback of media. The

Zone Scene Patents are clear that when any two or more zone players are “grouped” they become

configured for synchronous playback of media. E.g., ‘206 Pat. at 3:16-20 (“One of the objects,

features, and advantages of the present invention is … playing and controlling the audio source

synchronously if the players are grouped together”); 7:16-19; 7:40-45. In this way, a “group

configuration” and “grouping of zone players” in the context of the Zone Scene Patents refers to a

set of zone players that are to be configured for synchronous playback.

       The Zone Scene Patents further disclose an approach for grouping zone players for

synchronous playback in which a controller can predefine a “group” of zone players but not

immediately invoke this group for synchronous playback, instead saving it for later invocation. Id.

at 8:24-55; 10:4-30. The Zone Scene Patents refer to these previously-saved groupings as “zone

scenes” (or just “scenes” for short). Id. at 8:24-28 (“Using what is referred to herein as a theme or

a zone scene, zones can be configured in a particular scene (e.g., morning, afternoon, or garden),

where a predefined zone grouping and setting of attributes for the grouping are automatically

effectuated.”). In order to provide the capability to establish a predefined “group” at one time and

then invoke the “group” at a later time, the Zone Scene Patents disclose that the “zone scene” can

be “saved” in the memory of one or more of the zone players of the system and later recalled by a

controller. Id. at 6:8-9; 10:10-13; 5:51-57.

       Based on the foregoing, Sonos proposes to construe the “zone scene” claim language in

each Zone Scene Patent to mean “a previously-saved grouping of zone players that are to be

configured for synchronous playback of media when the zone scene is invoked.” This construction




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is directly in line with the intrinsic evidence and properly defines the claimed “zone scene” in the

context of its surrounding claim language.

       By contrast, Google proposes to construe “zone scene” in isolation to mean “a group of

two or more zones that are grouped according to a common theme by configuring the zones in a

particular scene (e.g., morning, afternoon or garden).” Google’s proposal is hopelessly flawed.

       First, Google’s construction ignores the surrounding claim language that defines “zone

scene,” unhelpfully parroting the claim language back. For instance, rather than provide a helpful

definition that explains what it means to “identify[] a group configuration associated with two . . .

playback devices,” Google attempts to define “zone scene” using both “zone” and “scene” and

does not account for the claim’s recitation of “two . . . playback devices.” Instead, Google’s

construction sidesteps any reference to zone players and instead articulates that a “zone scene” is

a “group of . . . zones that are grouped . . . by configuring the zones in a . . . scene.” Using the

claim terms themselves in the construction is generally unhelpful to the jury as doing so is akin to

simply adding limitations to the plain words of the claim term. See K-2 Corp. v. Salomon S.A.,

191 F.3d 1356, 1364 (Fed. Cir. 1999); Gobeli Rsch. Ltd. v. Apple Computer, Inc., 384 F. Supp. 2d

1016, 1024 (E.D. Tex. 2005) (rejecting the defendant's construction in part because the defendant's

construction “parrots the claim term itself and includes [an] additional limitation”).

       Second, Google’s construction results in more confusion than clarity because it introduces

undefined terms and phrases.       For instance, Google’s construction introduces a new term

(“common theme”) in the phrase “grouped according to a common theme” without attempting to

explain what it means for zones to be grouped according to a “common theme.” Instead,

employing a confusing circular definition, Google’s construction reverts back to the original words

of the term and simply recites that “zones are grouped according to a common theme by




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configuring the zones in a particular scene (e.g., morning, afternoon, or garden).” Articulating

that zones are configured “in a particular scene” is not helpful because it does not provide any

clarity to the new term “common theme” or offer any other explanation as to what a “scene” is.

Google’s “e.g.,” suffix is of no help either, as “morning,” “afternoon,” and “garden” are simply

names of times and a place; the jury would be left to guess as to how they would apply, if at all.

Indeed, the use of “e.g.,” itself implies that these names are merely examples and may not be

limiting as to the meaning of “scene” or “theme.”

       Third, Google’s constructions of “zone” and “zone scene” read a limitation into “zone

scene” that is not present in the plain language of the claims or even articulated by the specification.

Condensing Google’s constructions of “zone” and “zone scene” down to a basic level, Google

appears to advance that a “zone” is an “area or areas” (with additional qualifications) and a “zone

scene” is “a group of two or more zones” (with additional qualifications). Putting these together,

Google appears to advance that a “zone scene” is a group of two or more areas. But the limitation

of grouping two (or more) areas is not present in the plain language of the claims. The claims

simply recite that each “zone scene” is “identifying a group configuration associated with “two or

more . . . playback devices.” Moreover, the Zone Scene Patents do not refer to “groups” or

groupings of “areas” – they consistently refer to “groups” or “groupings” of playback devices (or

zone players). E.g, ‘206 Pat. at 2:12-13 (“audio players may be readily grouped”); 2:28-29 (“the

present invention pertains to controlling a plurality of multimedia players, or simply players, in

groups”); 5:4-5 (“[t]wo or more zone players may be grouped together to form a new zone group”);

7:16-19 (“[i]n one embodiment, an application module is configured to facilitate grouping a

number of selected zone players into a zone group and synchronizing the zone players for one

audio source”). In this way, Google’s dual constructions inject into the definition of “zone scene”




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a backdoor requirement that two “areas” be grouped together.

       In sum, Google’s construction is not helpful to a jury. It creates more questions than

answers. And it attempts to read a limitation requiring “areas” to be grouped into the term “zone

scene.” Sonos’s construction, on the other hand, is grounded in the plain language of the claim

and the usage in the specification.

VIII. “Group Configuration” [Proposed by Google]

       The ‘206 Patent claims recite “group configuration” as part of the definitional phrase

defining “zone scene,” namely “each zone scene identifying a group configuration associated with

two or more of the plurality of independent playback devices.” ‘206 Pat. at Cl. 1. Sonos proposes

that no separate construction of “group configuration” is necessary as the meaning of this term is

clear from Sonos’s construction of the phrase in which it is used. Indeed, as the discussion above

makes clear, a “zone scene identifying a group configuration associated with two or more of the

plurality of independent playback devices” means a “a previously-saved grouping of zone players

that are to be configured for synchronous playback of media when the zone scene is invoked.”

This construction accounts for the claim’s usage of “group configuration” and properly explains

the meaning of “group configuration” in the context of “zone scene.”

       Google does not offer a construction for this term but instead contends it is indefinite,

arguing in a single sentence that “the term ‘group configuration’ is not distinguishable from ‘zone

scene’ or ‘zone configuration’ as described in the specification or under Sonos’s theories.” Ex.

10. As explained above with respect to Sonos’s construction of both “zone configuration” and

“zone scene,” Google is wrong. Sonos’s construction of “zone configuration” clearly sets forth

that a “zone configuration” means “configuration data that provides an indication of a zone scene.”

In other words, the “zone configuration” comprises a data representation of the “zone scene.” And

Sonos’s construction of a “zone scene identifying a group configuration . . . ” clearly sets forth that


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this means a “previously-saved grouping of . . . playback devices . . .” Given these constructions,

a POSITA would have no trouble comprehending these terms and the distinction between them.

       Moreover, Google confusingly contends that the term “group configuration” is indefinite

despite offering its own construction for the term “zone scene,” which, as explained, is expressly

defined in the claim with reference to “group configuration.” Google fails to reconcile these

conflicting positions. For at least these reasons, the Court reject Google’s indefiniteness theory.

IX.    “Invoke” [Proposed by Google]

       The ’206 Patent’s claims recite that “the displayed selectable indication is selectable to

cause one or more of the zone scenes to be invoked,” and the ’966 and ’885 Patents’ claims

recite that “zone players” in “a predefined grouping” are “configured for synchronous playback

of media when [a] zone scene is invoked[.]” The term “invoke” in these claim limitations is

easily understandable and thus, no construction is necessary. See Phillips at 415 F.3d at 1314.

       Google does not dispute that this term is easily understandable. Instead, Google attempts

to artificially limit the term “invoke” to the function of “applying a parameter or setting,”

without specifying what the parameter or setting is or is applied to. Google’s construction is also

not consistent with either the plain and ordinary meaning of “invoke” or the intrinsic evidence.

       For instance, the Zone Scene Patents consistently use the term “invoke” synonymously

with the term “activate,” which is an operation that is not limited to “applying a parameter or

setting.” Nor does any of the intrinsic evidence suggest that “invoke” must be limited to the

function of “applying a parameter or setting.” See, e.g., ’206 Patent at 2:33-34 (“When the scene

is activated, the players in the scene react in a synchronized manner.”), 2:38-43 (“[T]he scene

may be activated at any time or a specific time.”), 3:2-4 (“The players in a scene are

synchronized to play a multimedia file when the scene is activated.”), 9:57-64, 10:21-33.

       The extrinsic evidence also confirms that Google’s proposal is improperly limiting. E.g.,


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Ex. 11 at 3 (Google’s Disclosure of Extrinsic Evidence citing dictionaries defining “invoke” as

“[t]o activate a program, routine, function or process,” and defining “invocation” as “[t]he

activation of a program or procedure”); Ex. 12 at SONOS-SVG2-18483 (“Invoke” means “[t]o

call or activate, used in reference to commands and subroutines.”); Ex. 13 at SONOS-SVG2-

18794 (“To invoke something is to call on it and bring it to bear on the situation at hand …”).

X.     “Causing the Selectable Indication … to Be Displayed” [Proposed by Google]

       Google alleges that the phrase “causing the selectable indication . . . to be displayed” of

claim 19 of the ’206 Patent is indefinite. This argument appears to be based entirely on the fact

that claim 19 includes a clerical error in its dependency clause (which erroneously identifies claim

17 instead of claim 18). However, this is an obvious scrivener’s error that is correctable by the

Court, and thus is not a proper ground for indefiniteness. See, e.g., Hoffer v. Microsoft Corp., 405

F.3d 1326, 1331 (Fed. Cir. 2005) (concluding claim with error in dependency apparent on face of

patent was improperly invalidated and correctable by court).

       When comparing the language of dependent claim 19 to dependent claim 18, there is no

reasonable debate that claim 19 was meant to depend from claim 18:

       18.     The computer-readable medium of claim 17, wherein causing the selectable
       indication of the received zone configuration to be displayed comprises causing an
       indication of at least one of the one or more zone scenes to be displayed.

       19.     The computer readable medium of claim 17, wherein causing the selectable
       indication of the at least one of the one or more zone scenes to be displayed
       comprises displaying an indication of the group configuration identified by the at
       least one of the one or more zone scenes to be displayed.

       This is also confirmed by dependent claim 14, which mirrors the language of claim 19 but

depends from claim 13 (which mirrors the language of dependent claim 18), as opposed to claim

12 (which mirrors the language of independent claim 17). Castlemorton Wireless, LLC v. Bose

Corp., Case No. 20-cv-29, 2020 WL 6578418, at *3 (W.D. Tex. July 22, 2020) (comparing claim



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with error to other claim with similar language).

          Nothing in the prosecution history suggests a different interpretation. To the contrary, the

dependency error was present when the original application was filed, which “further indicates

that it is an unintended error not subject to reasonable debate.” Traxxas, L.P. v. Hobbico, Inc.,

Case No. 16-cv-768, 2017 WL 4347709, at *22 (E.D. Tex. Sept. 29, 2017).

          Thus, the obvious error in claim 19’s dependency clause should be corrected to depend on

claim 18, which moots Google’s indefiniteness argument for this term.

XI.       “Local Area Network” [Proposed by Sonos]

          As explained, a core aspect of Sonos’s networked audio system is that it operates on a “data

network,” such as a “local area network” (LAN). Consequently, the term “local area network” is

found in many of Sonos’s patents, including the independent claims of the ’615 Patent.

          In the field of networking, a “local area network” is a well-understood term of art that refers

to a data network that interconnects devices within a limited area. The ’615 Patent uses the term

“local area network” consistent with this widely-accepted meaning. Ex. 24 at ¶¶ 50-84, 90-98.15

          For instance, the lead embodiment illustrated in Figure 1 of the ’615 Patent shows “data

network 128” interconnecting devices within a single home, which a POSITA would understand

amounts to a “local area network.” Id. at ¶¶ 33, 93. The ’615 Patent also discloses an “Ad-hoc

network 610,” which a POSITA would understand is one specific example of a “data network,”

and expressly describes an “Ad-hoc network” as a “local area network or other small network . .

. .” Id. at ¶¶ 34, 65; ’615 Patent at 10:64-66. What’s more, the ’615 Patent repeatedly uses the

term “local” to contrast with other terms connoting large areas or wide coverage, such as “wide

area network,” “Internet,” and “cloud.” Ex. 24 at ¶ 95.



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     A copy of Dr. Schmidt’s declaration is attached as Exhibit 24.


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        As set forth in Dr. Schmidt’s Declaration, various technical literature and dictionaries also

confirm that a POSITA would have understood a “local area network” to be a data network that

interconnects devices in a limited area. Id. at ¶¶ 50-59, 96.16

        Thus, in view of the foregoing, Sonos’s proposed construction of “local area network” is a

“data network that interconnects devices within a limited area, such as a home or office,” which

faithfully captures how a POSITA would understand the plain and ordinary meaning of this term

when viewed in light of the ’615 Patent.

        Notably, Google agrees with Sonos that “local area network” should be assigned its plain

and ordinary meaning. However, Google has so far refused to adopt Sonos’s construction, without

providing any explanation as why Google disagrees with Sonos’s articulation of the plain and

ordinary meaning. To the extent Google contends that a “local area network” is something other

than a “data network that interconnects devices within a limited area, such as a home or office,”

that interpretation is contrary to the plain and ordinary meaning and the intrinsic evidence.

XII.    “Cloud” [Proposed by Google]

        Some of the claims of the Direct Control Patents recite one or more “cloud servers” that

can interact with control and/or playback devices to facilitate transferring playback from a control

device to a playback device. ’615 Patent at Cls. 1, 13, 25. The other claims of the Direct Control

Patents recite “a cloud-based computing system associated with a cloud-based media service” that

provides a “remote playback queue.” ’033 Patent at Cls. 1, 12, 15. There is no need for the Court

to construe the term “cloud” that appears in these limitations because that is a word that lay jurors

already understand. See Phillips, 415 F.3d at 1314. Google is nevertheless asking the Court to

broadly construe “cloud” to mean “over a network.” Not only is this construction unnecessary,


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  E.g., Ex. 14 at SONOS-SVG2-18676 (“A local area network is a high-speed data network that
covers a relatively small geographic area.”).


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but it is also contrary to the plain and ordinary meaning of the word “cloud,” which is not merely

a generic term that encompasses any type of network. Under Google’s construction, the word

“cloud” would cover a local area network, such as a user’s home Wi-Fi, which is contrary to both

the well-understood plain and ordinary meaning of the term “cloud” and the intrinsic evidence.

       The ’615 Patent’s teachings are clear that the term “cloud” refers to computing systems

that are not part of any “local” network of a user, but rather are remote from a user’s “local”

network and are accessed by the user’s devices via a wide-area network such as the Internet. See,

e.g., ’615 Patent 11:62-12:3 (“[E]ach zone player . . . may access the Internet when retrieving

media from the cloud (e.g., Internet) via the bridging device.”), 16:1-4, FIG. 7. In fact, the term

“cloud” is repeatedly and consistently contrasted with the term “local.” See, e.g., id. at 14:42-43

(“[M]usic is streamed from the cloud to one or more playback devices on the local playback

network.”), 16:1-4 (“A connection between the third-party application and the local playback

device (e.g., Sonos ZonePlayerTM) can be direct over a local area network (LAN), remote through

a proxy server in the cloud, and so on.”), 12:19-43, 17:12-20.

       Extrinsic evidence, moreover, confirms that the term “cloud” does not simply mean “over

a network.” For example, Google’s own definition of “cloud computing” is “the practice of using

a network of remote servers hosted on the internet to store, manage, and process data, rather than

a local server or personal computer.” Ex. 15. As another example, the American Heritage

Dictionary defines “cloud” as “[a] large area of coordinated wireless Internet service” and “[t]he

collection of data and services available through the Internet[.]” Ex. 16 at SONOS-SVG2-18274.

XIII. “A Media Particular Playback System” [Proposed by Sonos]

       Dependent claims 3, 15, and 26 of the ’615 Patent each contain the phrase “a media

particular playback system,” which undeniably includes a typographical error that is evident from

the face of the patent and therefore correctable by this Court. See, e.g., Ultimax Cement Mfg Corp


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v. CTS Cement Mfg Corp, 587 F.3d 1339, 1352 (Fed. Cir. 2009). By simply reading the claim

language, a POSITA would readily understand that the inclusion of the word “particular” in this

phrase was a typographical error. Ex. 24 at ¶¶ 100-102.

       The conclusion that the phrase “a media particular playback system” in dependent claims

3, 15, and 26 includes a typographical error is further supported by dependent claims 2 and 14,

which include a similar structure to dependent claims 3 and 15 but use the correct phrase “a media

playback system” rather than the erroneous phrase “a media particular playback system.” Id. at

¶¶ 103-105; Castlemorton, 2020 WL 6578418, at *3 (comparing claim with error to other claim

with similar language). Given the parallelisms between dependent claims 2 and 14 and dependent

claims 3 and 15, a POSITA would understand that the inclusion of “particular” in the phrase “a

media particular playback system” is a correctable typographical error. Ex. 24 at ¶ 106.

       Based on the foregoing, Sonos is proposing a construction of the phrase “a media particular

playback system” that corrects the typographical error by removing the word “particular.” This

construction is not subject to reasonable debate by a POSITA when considering the claim language

as a whole and the ’615 Patent’s specification. Id. at ¶¶ 107-109; see also, e.g., ’615 Patent at

2:51-57, 2:60-3:1, 12:44-67 (describing the inventions of the ’615 Patent using terms such as

“multimedia playback devices” and never using the phrase “media particular”). Moreover, there

is nothing in the prosecution history suggesting to a POSITA that any other reasonable correction

should apply. Ex. 24 at ¶¶ 110-12; Ex. 23 (showing that the erroneous inclusion of “particular” in

the phrase “a media particular playback system” was introduced during prosecution when Sonos

amended the independent claims to recite a “particular playback device” by propagating the word

“particular” in front of “playback device” in various dependent claims, but also erroneously

inserting the word “particular” in front of “playback system” in dependent claims 3, 15, and 26).




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For at least these reasons, the Court should adopt Sonos’s construction.

XIV. “Data Network” [Proposed by Sonos]

          Sonos’s original system was fundamentally different from conventional audio systems of

the time, which involved running speaker wires from passive speakers back to a centralized

receiver, because Sonos’s system operated on a “data network.” This core attribute of Sonos’s

system is often expressly claimed in Sonos’s patents, including the ’966, ’033, and ’885 Patents

asserted here, which recite a “data network.”

          In the field of networking, the term “data network” is a well-understood term of art that is

often used interchangeably with other well-understood terms such as “computer network,” “packet

network,” and “data communications network” to refer to a specific class of networks that

interconnect and enable devices to exchange information with one another in the form of digital

data packets. Ex. 25 at ¶ 4517; Ex. 24 at ¶¶ 40-62. In this respect, it is well understood that a “data

network” has several defining characteristics that distinguish it from other types of communication

mediums that are not included in this class of networks. First, a “data network” enables networked

devices to engage in two-way communication with one another, which distinguishes it from a

medium that only allows for one-way communication. Id. at ¶¶ 41, 67-73; Ex. 25 at ¶¶ 46, 56.

Second, a “data network” transfers information between networked devices in the form of digital

data packets (sometimes more generally referred to as “computer data”), which distinguishes it

from a medium that transfers other forms of information. Id. at ¶¶ 47, 56; Ex. 24 at ¶¶ 41, 78-83.

The ’966, ’033, and ’885 Patents use the term “data network” consistent with this plain and

ordinary meaning.

          As an initial matter, the specifications of the ’966, ’033, and ’885 Patents repeatedly and



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     A copy of Dr. Almeroth’s declaration is attached as Exhibit 25.


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consistently describe the disclosed “data network” as a medium that enables networked devices to

engage in two-way communication. Id. at ¶¶ 63-66; Ex. 25 at ¶¶ 59-60, 62. For instance, the

disclosure18 of the ’966 and ’885 Patents explains that “data network 108” enables each connected

“zone player” to “send data back and forth,” such as for “sharing” audio over “data network 108.”

’966 Pat. at 5:26-30 (“The network interface 202 [of a zone player 200] facilitates a data flow

between a data network (i.e., the data network 108 of FIG. 1) and the zone player 200 and typically

executes a special set of rules (i.e., a protocol) to send data back and forth.”), 5:4-15 (“[T]he audio

source may be shared among the devices on the network 108.”); see also, e.g., id. at 5:30-39,

5:62-64, 6:1-4.

       Along similar lines, the ’033 Patent explains that “data network 128” enables each

connected “zone player” to transmit and receive data so that, for instance, audio sources can be

“shared.” See, e.g., ’033 Pat. at 7:44-51:

           [T]he network interface 402 [of a zone player 400] facilitates a data flow
           between zone players and other devices on a data network (e.g., the data
           network 128 of FIG. 1) and the zone player 400. In some embodiments, the
           network interface 402 can manage the assembling of an audio source or file
           into smaller packets that are to be transmitted over the data network or
           reassembles received packets into the original source or file.

Id. at 7:15-18 (“Audio content received from one or more sources can be shared amongst the zone

players 102 to 124 via the data network 128 and/or the controller 130.”); see also, e.g., id. at 4:21-

33, 4:48-60, 7:4-11, 7:60-8:6. The ’033 Patent provides similar disclosures regarding “Ad-hoc

network 610,” which a POSITA would understand is one specific example of a “data network.”

Id. at 11:2-12; Ex. 24 at ¶¶ 34, 65.

       Moreover, the specifications of the ’966, ’033, and ’885 Patents repeatedly and consistently



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  The ’966 and ’885 Patents have nearly identical specifications. Thus, the cited teachings from
the ’966 Patent can also be found in the ’885 Patent.


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describe that the disclosed “data network” carries information in the form of digital data packets.

Id. at ¶¶ 74-77; Ex. 25 at ¶¶ 61, 63-65. For instance, the ’966 and ’885 Patents explain that audio

shared over the “data network 108” is in a “digital format,” and that communications over the

“data network 108” involve digital “packets” and adherence to networking protocols and standards

that a POSITA would have understood involve the exchange of digital data packets (e.g., Ethernet,

TCP/IP, and IEEE 802.11). Id. at ¶¶ 64-65; see also, e.g., ’966 Pat. at 4:49-57 (“[A]udio sources

are in digital format and can be transported or streamed over a data network.”), 4:62-66, 5:4-15

(“The analog audio sources can be converted to digital audio sources. . . . the audio source may be

shared among the devices on the network 108.”), 5:30-48:

           One of the common protocols used in the Internet is TCP/IP (Transmission
           Control Protocol/Internet Protocol). In general, a network interface
           manages the assembling of an audio source or file into smaller packets that
           are transmitted over the data network or reassembles received packets into
           the original source or file. . . . The wireless interface 216 . . . provides
           network interface functions by a wireless means for the zone player 200 to
           communicate with other devices in accordance with a communication
           protocol (such as the wireless standard IEEE 802.11a, 802.11b or 802.11g).
           The wired interface 217 provides network interface functions by a wired
           means (e.g., an Ethernet cable).

       Similarly, the ’033 Patent expressly explains that communications over the “data network

128” involve digital “packets” and adherence to networking protocols and standards that a

POSITA would have understood involve the exchange of digital data packets. Ex. 24 at ¶¶ 76-77;

’033 Pat. at 7:44-57 (discussing “data flow” on the “data network” involving transmitting and

receiving “packets” that can include “Internet Protocol (IP)-based” source and destination

addresses), 7:60-8:6, 11:46-52.

       Importantly, the disclosures of the Asserted Patents also never contemplate that a “data

network” could take some other form that does not have these defining characteristics.

       As explained by Drs. Schmidt and Almeroth, various technical literature and dictionaries



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likewise confirm that the term “data network” refers to a specific class of networks that have the

defining characteristics of enabling two-way communication and exchanging information in the

form of digital data packets. Ex. 25 at ¶¶ 67-78; Ex. 24 at ¶¶ 68-71, 79-83.19

       In view of the foregoing, Sonos’s proposed construction of “data network” is “a medium

that interconnects devices, enabling them to send digital data packets to and receive digital data

packets from each other.” This faithfully captures how a POSITA would understand the plain and

ordinary meaning of this term when viewed in light of the Asserted Patents.

       Notably, Google agrees with Sonos that “data network” should be assigned its plain and

ordinary meaning. However, Google has so far refused to adopt Sonos’s construction, without

providing any explanation as to why Google disagrees with Sonos’s articulation of the plain and

ordinary meaning. To the extent Google contends that a “data network” is something other than a

“a medium that interconnects devices, enabling them to send digital data packets to and receive

digital data packets from each other,” that interpretation is contrary to the plain and ordinary

meaning and the intrinsic evidence.

XV.    “Remote Playback Queue” [Proposed by Google]

       The ’033 Patent recites a “remote playback queue,” which is an easily understandable term

that should be accorded to its plain and ordinary meaning. See Phillips, 415 F.3d at 1314.



19
  E.g., Ex. 17 at SONOS-SVG2-18759 (explaining a “LAN” is an example of a “data network[]”
and that “each device attaches to the LAN” via a “network interface card” that “contains the logic
for accessing the LAN and for sending and receiving blocks of data on the LAN.”); Ex. 18 at
SONOS-SVG2-18305, 312 (explaining “[e]ach LAN consists of a single shared medium” and
“computers take turns using the medium to send [‘packets’/‘data’]” and “LAN technologies
require computers to divide data into small packets called frames”); Ex. 14 at SONOS-SVG2-
18676 (“A local area network is a high-speed data network . . . . LAN is a type of broadband
packet access network that carries the packet data traffic of an organization. . . . The physical layer
[of the LAN protocols] is primarily concerned with the transmission medium and its physical
characteristics for digital signal transmission.”).



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       Google does not dispute that this term is easily understandable, as confirmed by the fact

that Google’s construction actually repeats the claim term “remote playback queue” in full.

Instead, in order to manufacture a non-infringement position, Google seeks artificially to narrow

this term by improperly tacking on an entirely new claim limitation that the “remote playback

queue” must be “provided by a third party application.” Google’s proposal should be rejected.20

       Google’s proposed construction is contrary to the plain language of the claims. Neither

the words used in the “remote playback queue” term nor the rest of the language in claims 1, 12,

and 15 limits the “remote playback queue” in the manner proposed by Google, which would

require it to be provided by an “application” of a “third party.” Instead, the claims expressly

require that the “remote playback queue” be “provided by a cloud-based computing system

associated with a cloud-based media service.” And, like the term “remote playback queue” itself,

this “cloud-based” claim language does not require the provider of the “remote playback queue”

to be an “application” of a “third party.” In short, the claim language confirms that the “remote

playback queue” is provided by a “cloud-based computing system” rather than “a third party

application,” as Google’s construction would require.21

       Additionally, nothing in the intrinsic evidence of the ’033 Patent that justifies departing

from the plain and ordinary meaning of “remote playback queue” and limiting the term such that



20
   Nichia Corp. v. Everlight Elecs. Co., Ltd., et al., Case No. 13-cv-702, 58-60 (E.D. Tex. Dec.
12, 2014) (rejecting proposed constructions that restated claim terms and then tacked on an
additional limitation, stating that “Plaintiff does not contend that the disputed terms require
construction, but instead seeks to import a limitation from the specification into the claims”).
21
   Imageware Systems, Inc. v. M2SYS Tech., LLC, Case No. 13-cv-846, 2014 WL 12488497 at
*10 (S.D. Cal. July 24, 2014) (rejecting proposed construction of “application” to mean “third-
party software development kit” where “patent claims do not reference third-party origin of the
SDKs” and “specification does not state that SDKs must originate with a third party”) (emphasis
in original); Howlink Global LLC v. Centris Info. Sys., LLC et al., Case No. 11-cv-71, 2012 WL
3779025 at *17-19 (E.D. Tex. June 28, 2012) (rejecting construction that sought to introduce
third parties into the claim).


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it must be “provided by a third party application,” as requested by Google.22

       Further, Google’s proposal should also be rejected because it introduces ambiguity into the

claims. For example, Google’s proposal introduces the concept of a “third party,” but neither

Google’s proposal nor the rest of the claim language even recites a “first party.” Thus, it is unclear

what “party” Google is attempting to contrast with its proposed “third party” limitation.23

XVI. “An Instruction … to Take Over Responsibility for Playback” [Proposed by Google]

       The claims of the ’033 Patent require “an instruction for the at least one given playback

device to take over responsibility for playback . . . .” This language is easily understandable and

should be accorded its plain and ordinary meaning. See Phillips, 415 F.3d at 1314.

       Google does not dispute that the word “instruction” (or the other claim language referring

to the “instruction”) should be given its plain and ordinary meaning. However, Google asks the

Court to find that the claim term “an instruction” is limited to one single instruction. Google’s

proposal should be rejected because it is inconsistent with the well-established rule that an

indefinite article “a” or “an” in patent parlance means “one or more.”

       As explained by the Federal Circuit in Baldwin:

           That “a” or “an” can mean “one or more” is best described as a rule, rather
           than merely as a presumption or even a convention. The exceptions to this
           rule are extremely limited: a patentee must evince a clear intent to limit “a”
           or “an” to “one.” The subsequent use of definite articles “the” or “said” in
           a claim to refer back to the same claim term does not change the general
           plural rule, but simply reinvokes that non-singular meaning. An exception
           to the general rule that “a” or “an” means more than one only arises where
           the language of the claims themselves, the specification, or the prosecution

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   See, e.g., KIS, S.A. v. Foto Fantasy, Inc., 60 F. App’x 319, 321 (Fed. Cir. 2003) (“[I]f the
claim language is clear on its face, then a court’s consideration of the rest of the intrinsic
evidence is restricted to determining if a deviation from the clear language of the claims is
specified.”) (internal quotation marks omitted).
23
   Brazabra Corp. v. Ce Soir Lingerie Co., Inc., Case No. 18-cv-683, Dkt. 35 (W.D. Tex. Aug.
15, 2019) (rejecting proposed construction that was “more likely to introduce, rather than clarify,
ambiguity in the claim term”); Finalrod IP, LLC et al. v. John Crane, Inc. et al., Case No. 15-cv-
097, Dkt. 215, p. 30 (W.D. Tex. Feb. 11, 2019) (same).


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           history necessitate a departure from the rule.

Baldwin Graphic Systems, Inc. v. Siebert, Inc., 512 F.3d 1338, 1342-43 (Fed. Cir. 2008) (internal

quotation marks omitted). Applying this rule, courts have consistently found that claim terms

beginning with the article “a” or “an” mean “one or more.”24

       The same conclusion applies to the claim term “an instruction” here, which should be

construed to cover one or more instructions.25 Thus, Sonos respectfully requests that the Court

reject Google’s’ attempt to improperly limit the claimed “an instruction” to a single instruction.

XVII. “Wherein the Instruction Comprises an Instruction” [Proposed by Google]

       Independent claims 1 and 12 of the ’033 Patent each recites “transmitting an instruction for

the at least one given playback device to take over responsibility for playback of the remote

playback queue from the computing device[.]” In turn, dependent claims 2 and 13 each recites:

       wherein the instruction comprises an instruction for the cloud-based computing
       system associated with the cloud-based media service to provide the data
       identifying the next one or more media items to the given playback device for use
       in obtaining the at least one media item from the cloud-based computing system
       associated with the cloud-based media service.

       Google contends that the “wherein the instruction comprises an instruction” phrase in these

dependent claims is indefinite. This litigation-inspired position is nonsense.

       In reality, repeating a claim element after the transitional word “comprises” and then

elaborating on that claimed element is a common claim-drafting technique; one that Google itself


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   Convolve, Inc. v. Compaq Computer Corp., 812 F.3d 1313, 1321 (Fed. Cir. 2016) (finding that
“a processor” means “one or more processors”); Rehco LLC v. Spin Master, Ltd., 759 F. App’x
944 (Fed. Cir. 2019) (construing “a signal” to mean “one or more signals”); Implicit, LLC v.
NetScout Systems, Inc., 2019 WL 1614725, *11-13 (E.D. Tex. Apr. 15, 2019) (finding that “a
received packet of a message” includes “one or more received message packets”).
25
   The only exception to this general rule is in those “rare circumstances” where a patentee
“evinces a clear intent” to “limit ‘a’ or ‘an’ to only ‘one.’” See, e.g., Baldwin, 512 F.3d at 1342-
43; KCJ Corp. v. Kinetic Concepts, Inc., 223 F.3d 1351, 1356 (Fed. Cir. 2000). However, there
was no such “clear intent” by Sonos here to limit the claim term “an instruction” to only one
single instruction.


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uses in many of its own patent filings.26 Indeed, the MPEP explains that the transitional term

“comprising” is synonymous with “characterized by.” MPEP, 9th ed., rev. 10.2019 § 2111.03

(2020). This is exactly how the “wherein the instruction comprises an instruction” phrase is used

in the ’033 Patent; it sets forth additional, required characteristics of the transmitted “instruction”

recited in the independent claims.

       What’s more, as discussed above, “an instruction” means “one or more instructions.” Thus,

Google’s feigned confusion over how “an instruction” could comprise a specific “instruction for

the cloud-based computing system” is legally dubious. See Baldwin Graphic Systems, Inc., 512

F.3d at 1342.

       For at least these reasons, Google’s indefiniteness argument should be rejected.




26
   See, e.g., Ex. 19 at claim 6 (“wherein the index comprises an index of articles associated with
a global computer network”); Ex. 20 at claim 19 (“wherein the indication comprises an indication
that the physical attachment mechanism is no longer physically intact”); Ex. 21 at claim 17
(“wherein the command comprises a command to enable radar communication”); Ex. 22 at claim
7 (“wherein the request comprises a request to add one or more of the identified search queries to
the set of keywords.”).


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Dated: April 27, 2021.            Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on April 27, 2021, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document through the

Court’s CM/ECF system.

                                           /s/ /s/Mark D. Siegmund
                                                 Mark D. Siegmund




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